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                                         MINUTE ORDER                                                    Page 2

                             Chief Magistrate Judge Edwin G. Torres
                        King Building Courtroom 10-5                          Date: 2/15/2024     Time: 1:30 p.m.
Defendant: Mauricio Gomez Baez               J#: 99725-510   Case #: 24-20050-CR-WILLIAMS(s) (SEALED)
AUSA: Manolo Reboso                                  Attorney: Andrew T. George, Temporary Counsel
Violation: CONSPIRACY TO VIOLATE THE FOREIGN CORRUPT      Surr/Arrest Date: 2/15/2024   YOB: 1966
          PRACTICES ACT

Proceeding: Initial Appearance                                    CJA Appt:
Bond/PTD Held: Yes        No         Recommended Bond:
Bond Set    $1,000,000.00 personal surety                    Co-signed by:
at:
     Surrender and/or do not obtain passports/travel docs-Mexican Language: English

     Report to PTS as directed/or           x’s a week/month by         Disposition:
     phone:         x’s a week/month in person                            * Superseding Information filed on
     Random urine testing by Pretrial
     Services                                                            2/13/24*
     Treatment as deemed necessary                                       Motion to Unseal GRANTED.
     Refrain from excessive use of alcohol                               Motion to Appear Pro Hac Vice to be
     Participate in mental health assessment & treatment                 filed for Andrew T. George with name
     Maintain or seek full-time employment/education                     of Local Counsel.
     No contact with victims/witnesses, except through counsel           The Court ADOPTS the recommended
     No firearms                                                         bond – DEFENDANT RELEASED
     Not to encumber property
     May not visit transportation establishments
     Home Confinement/Electronic Monitoring and/or
     Curfew          pm to           am, paid by
     Allowances: Medical needs, court appearances, attorney visits,
     religious, employment
     Travel extended to:
                                                                          Time from today to ________ excluded
     Other: Maintain residence in Miami at address stated on record       from Speedy Trial Clock
NEXT COURT APPEARANCE      Date:          Time:          Judge:                          Place:
Report RE Counsel: 2/27/24               10:00           Miami Duty
PTD/Bond Hearing:
Arraignment:                 2/27/24      10:00          Miami Duty
Status Conference RE:
D.A.R. 13:43:49                                                   Time in Court: 12
                                   s/Edwin G. Torres                                   Chief Magistrate Judge
